Case 2:20-cv-08979-MWF-JPR Document 28 Filed 10/18/21 Page 1 of 1 Page ID #:92



   1

   2                                                                              JS-6
   3

   4
                          UNITED STATES DISTRICT COURT

   5
                        CENTRAL DISTRICT OF CALIFORNIA

   6     RHONDA K. SCHEIDER,                          Case No. 20CV-08979-MWF(JPRx)
   7
         PATRICIA A. DAUGHENBAUGH,
         AND PAMELA SHIPPEE,                          ORDER OF DISMISSAL WITH
   8
                                                      PREJUDICE
                             Plaintiffs,
   9
                                                      Judge: Hon. Michael W. Fitzgerald
                vs.                                   Ctrm.: 5A (First St.)
   10    NATIONAL UNION FIRE
   11
         INSURANCE COMPANY OF
         PITTSBURGH, PA. and DOES 1-10,
   12
         inclusive,

   13
                             Defendants.

   14         The above-captioned action and all related counterclaims and cross-actions
   15   are hereby dismissed with prejudice.
   16         The Stipulation re Dismissal with Prejudice of the parties pursuant to FRCP
   17   41(a)(1)(A)(ii) having been filed, the above-captioned action and all related
   18   counterclaims and cross-actions are hereby dismissed with prejudice, with each
   19   party to bear their own attorneys’ fees and costs. The clerk shall close the file.
   20         IT IS SO ORDERED.
   21

   22   DATED: October 18, 2021
                                                 MICHAEL W. FITZGERALD
   23
                                                 United States District Judge
   24

   25

   26

   27

   28


                                     Order of Dismissal With Prejudice
